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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION




UNITED STATES OF AMERICA,                   )
                                            )
            Plaintiff,                      )
                                            )               CRIMINAL ACTION NO.
VS.                                         )
                                            )               3:92-CR-238(07)-G
DONEL MARCUS CLARK,                         )
                                            )                    ECF
            Defendant.                      )




                                       ORDER

      After conducting a review of the pleadings, files and records in this case, and

the findings and recommendation of the United States Magistrate Judge in

accordance with 28 U.S.C. § 636(b)(1), I am of the opinion that the findings and

recommendation of the Magistrate Judge are correct, and they are hereby

ACCEPTED as the findings of the court. Defendant’s motion to proceed in forma

pauperis on appeal [Doc. #91] is DENIED.

      SO ORDERED.


September 11, 2008.

                                         ___________________________________
                                         A. JOE FISH
                                         Senior United States District Judge
